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EXHIBIT GG
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May 22, 2013

SUPERIOR COURT OF NEW JERSEY
LAW DIVISION - ATLANTIC COUNTY

:CASE NO.
:291 CT

IN RE:

PELVIC MESH/GYNECARE LITIGATION :MASTER CASE
:6341-10

10 May 22, 2013
11 - - -
12 Transcript of the case management
13 conference in the above-captioned matter, taken by
14 KIMBERLY A. CAHILL, a Federally Approved Registered
15 Merit Reporter, Certified Court Reporter, and Notary
16 Public for the State of New Jersey, held at Atlantic
17 City Courthouse, 1201 Bacharach Boulevard, New
18 Jersey, on the above date, commencing at
19 approximately 1:21 p.m.
20
21 - _ -
22
23 GOLKOW TECHNOLOGIES, INC.
877.370.3377 ph|917.591.5672 fax
240 deps@golkow.com
25
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What I will tell you is that, up
until yesterday, nobody contacted me about the
depositions I requested. I had -- and only after I
unilaterally noticed depositions that had been
ignored -- and I didn't notice all 20 that I
requested on March 20th. I sat down with Adam. I
sat down with people from the MDL and I said, well,
here's some people that we think are a priority for
us, let's get them noticed.

And I noticed a dep -- and I noticed
the depositions for eight witnesses for New Jersey
depositions that we wanted to take. I got no
response until yesterday, at which point I said -- I
was told, we're going to get back to you.

The only -- the only notice I
received was for one of our witnesses, we were told
just a week ago that she's not in the country, she's
no longer an employee and you're going to have to go
through the Hague if you want her.

Why they couldn't have told me that
March 20th, when I first requested her deposition,
is beyond me, but I wasn't notified about that until
very recently.

The other issue -- and this is a huge

issue, Your Honor -- is that -- I mean, you just

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said it. You've produced over a million pages of
TVT documents in the past month. There is so much
that we don't have on TVT and one of the big -- one
of the big examples, which is going to be critical

to our experts in this case, is the registry

information.

There were -- there are -- and they
don't deny it -- there is a TVT worldwide registry
with information about -- about well over a thousand

patients in it, which has not been produced to us in
its entirety.

I've requested the SAS data. I've
requested the underlying questionnaires or basically
case report form information. I have not received
that. I have some SAS data, but I do not have a
complete production.

And I received a very carefully
worded letter from defense counsel just a few days
ago, basically saying, we have produced everything
in our possession, which is very similar to the
responses we got about Dr. Lucente when we were
arguing about the registry Prolift.

It was only after lots of prodding
and pushing and an order from this Court that they

acknowledged that they needed to go out and actually

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get some of this stuff. I don't believe we have

complete productions for any of the registries.

Dr. Lucente has a TVT-Secur registry
which he started at the same time as the Prolift
registry. They have made a production of the
Prolift registry and there is a problem with that,
which I'm not going to -- we're going to address the
problem. I think it will be addressed, but there
was a problem with the data we received.

But I just learned last week that
they're telling me that Dr. Lucente has no idea
where the TVT-S data is and that it may not even
exist anymore, and that the only person who has any
knowledge of it was killed in a car accident a
couple of weeks ago.

Why this wasn't collected two years
ago is beyond me. Why it wasn't collected last year
when they were there getting the Prolift data is

beyond me. But they certainly knew that this

existed. I've sent them e-mails where they're
discussing it. It was -- they -- they ended at the
same time. They made payments to him. He was

supposed to write articles about it, but somehow we
don't -have the TVT-Secur registry data. And that's

not it. There's other information we still don't

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1 have.

2 So, for me, it's -- it's great to

3 say, yeah, well, now we've done 11 depositions and

4 we produced another million pages of documents, but
5 they can't deny that there's been no real focus on

6 TVT discovery until very recently. And that was

7 because the parties were justifiably focused on

8 Prolift.

9 You know, there was Prolift, there

10 was Prolift M. There's discrete time periods; and
11 as Adam said, there's a lot more to learn about the
12 Prolift cases. There's been one bellwether trial.
13 Defendants aren't stepping forward and saying, let's
14 talk about resolving Prolift cases. They intend to
15 keep trying Prolift cases.

16 So the fact of the matter is, is that
17 we have other time periods that are relevant to the
18 Prolift. We have -- particularly, you have, you

19 know, preclearance, postclearance, but we also have
20 another time period, which is what happens when the

21 FDA actually starts issuing warnings, how does that

22 impact everything?
23 So I don't think that we've resolved
24 Prolift because we've tried one Prolift case. Sol

25 don't think there's any harm, particularly when --

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